                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA

DEMOCRACY NORTH CAROLINA, et al.,

       Plaintiffs,
             v.

THE NORTH CAROLINA STATE BOARD OF             Civil Action No. 20-cv-
ELECTIONS, et al.,                            00457

       Defendants,
                                              MOTION FOR RECONSIDERATION
and                                           AND MEMORANDUM IN SUPPORT
                                              OF SAME
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate, et al.,

       Defendant-Intervenors.


      Pursuant to Federal Rule of Civil Procedure 54(b), Defendant-

Intervenors Philip E. Berger, in his official capacity as President

Pro Tempore of the North Carolina Senate, and Timothy K. Moore, in

his official capacity as Speaker of the North Carolina House of

Representatives      (“Legislative   Defendants”),     hereby   file      this

Motion for Reconsideration. In support of this motion, Legislative

Defendants state as follows:

                   Procedural and Factual Background

      1.    On August 4, 2020, this Court entered an order denying

in part and granting in part Plaintiffs’ amended motion for a

preliminary injunction. See Mem. Op. and Order, Doc. 124 (Aug. 5,

2020) (“Op. and Order”).


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     2.    The Court granted Plaintiffs’ motion for a preliminary

injunction with respect to their procedural due process claims

challenging the lack of a uniform cure process for absentee ballots

with a material error that is subject to remediation.

     3. Plaintiffs challenged the lack of a cure process under

both a 14th Amendment right-to-vote theory and a procedural due

process theory. In evaluating Plaintiffs’ Article III standing,

the Court “consider[ed] the standing for these claims together”

because “the same conduct underlies both” of them. Op. and Order

at 44. The Court concluded that the Organizational Plaintiffs have

Article III standing to assert these claims, and it therefore did

not address Individual Plaintiffs’ standing. See id. at 48.

     4.    In   addition   to    challenging   Plaintiffs’   Article    III

standing   to   assert   these   claims,   Legislative   Defendants     also

challenged Organizational Plaintiffs’ prudential standing. See

Legislative Defs.’ Resp. in Opp’n to Pls.’ Am. Mot. for Prelim.

Inj., Doc. 51 at 13-15, 49-50 (June 26, 2020)(“Opp’n to Prelim.

Inj.”).

     5.    The Court held that Organizational Plaintiffs “may not

assert third-party standing on behalf of unnamed voters in North

Carolina with regard to Plaintiffs’ Fourteenth Amendment right-

to-vote claim,” Op. and Order at 57 (emphasis added), but it did




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not   address    Organizational      Plaintiffs’        prudential    standing    to

assert Plaintiffs’ procedural due process claims.

                                    Argument

      6.    The Court correctly found that Organizational Plaintiffs

lack third-party standing for Plaintiffs’ Fourteenth Amendment

right-to-vote claims, and the Court’s reasoning applies equally to

Plaintiffs’ procedural due process claims.

      7.    As   the    Court   recognized,       “Organizational      Plaintiffs

simply do not put forth evidence to allow the court to find that

they enjoy a ‘close relationship’ with the voters they assist

comparable to the paradigmatic close relationships that other

courts have traditionally found as an adequate basis for third-

party   standing.”      Op.   and   Order    at   57.    Nor   do   Organizational

Plaintiffs demonstrate “any hindrance to any third-party’s ability

to protect his or her own interests.” Id. For these reasons the

Court properly concluded that “Organizational Plaintiffs may not

assert third-party standing on behalf of unnamed voters in North

Carolina with regard to Plaintiffs’ Fourteenth Amendment right-

to-vote claims.” Id.

      8.    The same reasoning applies to Plaintiffs’ procedural due

process claims. Indeed, when analyzing Article III standing with

respect to the lack of an absentee ballot cure process, the Court

“consider[ed]     the    standing     for”    both      the    right-to-vote     and


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procedural         due   process       “claims       together,”    because          “the       same

conduct       underlies        both”    claims.        Op.   and       Order    at       44.     If

Organizational Plaintiffs do not have prudential standing to bring

a right-to-vote claim, they also do not have prudential standing

to    bring    a    procedural     due     process       claim     based       on    the       same

underlying activity. See Opp’n to Prelim. Inj. at 49-50.

       9.     For these reasons, Legislative Defendants ask the Court

to reconsider its preliminary injunction ruling to find that

Organizational           Defendants      lack       prudential     standing         to    assert

Plaintiffs’ procedural due process claims.

       10.    To the extent the Court grants this motion, it will need

to determine whether Individual Plaintiffs have standing to assert

the   procedural         due    process    claims.       For     the    reasons          we    have

explained in our briefing, see Opp’n to Prelim. Inj. at 49, they

do not.

                                        Conclusion

       For the foregoing reasons, Legislative Defendants’ motion for

reconsideration should be granted.

Dated: August 5, 2020                               Respectfully submitted,

/s/ Nicole J. Moss                                  /s/ David H. Thompson
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Local Civil Rule 83.1 Counsel         dthompson@cooperkirk.com
for Proposed Intervenors              *Notice of Appearance
                                      forthcoming
                                      Counsel for Proposed
                                      Intervenors




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                      CERTIFICATE OF WORD COUNT

     Pursuant to Local Rule 7.3(d)(1), the undersigned counsel

hereby certifies that the foregoing Motion for Reconsideration and

Memorandum In Support Of Same, including body, headings, and

footnotes, contains 631 words as measured by Microsoft Word.

                                       /s/ Nicole J. Moss
                                       Nicole J. Moss




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                        CERTIFICATE OF SERVICE

    The undersigned counsel hereby certifies that, on August 5,

2020,     I   electronically   filed    the   foregoing     Motion      for

Reconsideration with the Clerk of the Court using the CM/ECF

system.


                                       /s/ Nicole J. Moss
                                       Nicole J. Moss




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